
617 N.W.2d 326 (2000)
463 Mich. 891
PEOPLE of the State of Michigan, Plaintiff-Appellee,
v.
Willie Ray PITTMAN, Jr., Defendant-Appellant.
Docket No. 116788, COA No. 219631.
Supreme Court of Michigan.
October 10, 2000.
On order of the Court, the delayed application for leave to appeal from the March 3, 2000 decision of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the question presented should be reviewed by this Court prior to the proceedings ordered by the Court of Appeals and any further subsequent review by the Court of Appeals.
MICHAEL F. CAVANAGH and MARILYN J. KELLY, JJ., would grant leave to appeal.
